Case 1:01-cr-10060-.]DT Document 18 Filed 04/28/05 Page 1 of 2 Page|D 13

alma 93
UNITED STATES DISTRICT COURT "~`“"’" ' ‘
WESTERN DISTRICT OF TENNESSEE 0 _
Eastern Division 5 M,R 28 PH 2: |6

…L" § at ta to
UNITED STATES OF AMERICA CLEQ;.; {3_: l is D#ST m

W.D. C;~'f Tri_t;;i%$"q~'
-vs- Case No. 1:01cr10060-
TAMMIE MICHELE MOORE

 

ORDER OF DETENT[ON PEND|NG TRIAL
FlND|NGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECTlONS REGARD|NG DETENT|ON

TAMMIE MICHELE MOORE is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal TAMMIE MICHELE MOORE shall be afforded a
reasonable opportunity for private consultation with defense counsel On order of a Court of the United States or on
request of an attorney for the government, the person in charge of the corrections facility shall deliver the Defendant
to the United States marshal for the purpose of an appearance in connection with a Court proceeding

/
Date: April 26, 2005 S.%'WA~S JAM-j

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

`t?tls document entered on the docket sheet ln mpllanee
with Flule 55 and/or 32(b) FF|CrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 1:01-CR-10060 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

J ames W. Powell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

